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                              Exhibit 7
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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division




           ---------------------------------:
                                            :
           BMG RIGHTS MANAGEMENT (US) LLC, :
           et al.,                          :
                          Plaintiffs,       :
                                            : Case No. 1:14-cv-1611
                vs.                         :
                                            :
                                            :
           COX ENTERPRISES, INC., et al.,   :
                          Defendants.       :
           ---------------------------------:




                                              VOLUME     7   (A.M. portion)




                                      TRIAL TRANSCRIPT


                                      December 10, 2015


                            Before:    Liam O'Grady, USDC Judge


                                          And a Jury




                                                Norman B. Linnell   OCR-USDC/EDVA   (703)549-4626
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      1                Mr. Buckley.

      2                MR. BUCKLEY:    We submitted the Hauprich deposition

      3    designations which you were supposed to get last night and

      4    didn't.

      5                THE COURT:    All right.    And I've looked at them and

      6    we'll make copies.     I've struck all the -- I've sustained the

      7    objections to the three areas where -- which were in contest.

      8    So -- I mean, I think there were only three.               So I sustained

      9    the objection to each of those, but I'll get you a copy of the

     10    paper in a minute.

     11                MR. BUCKLEY:    All right.

     12                THE COURT:    All right.    We're in recess.

     13                NOTE:   At this point a recess is taken; at the

     14    conclusion of which the case continues in the absence of the

     15    jury as follow:

     16    JURY OUT

     17                THE COURT:    All right.    Are we ready for our jury?

     18                All right, Joe, let's get our jury.

     19                MR. ALLAN:    Yes, Your Honor, just to revisit the

     20    issue before we broke yesterday with the 96 percent effective

     21    that we think that Mr. Cadenhead will speak to.                That was

     22    subject to motion in limine number 7.          And it related to, it

     23    was a motion to preclude Cox and its experts from making that

     24    very statement.     And Your Honor granted it.

     25                THE COURT:    Okay.




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      1                MR. ALLAN:    And the point is, Your Honor, is that

      2    it's just -- it's unreliable testimony concerning the

      3    effectiveness of the system.

      4                I will further note, Your Honor, if you recall Mr.

      5    Vredenburg's testimony where we went through that ticket and it

      6    showed all the various steps that the person got and never got

      7    past the e-mail warning, that proves that it's actually -- that

      8    the system is not effective.

      9                We moved to compel additional tickets during

     10    discovery to help prove this and offset the 96 percent

     11    effectiveness argument that Cox will make, and we lost that

     12    motion.

     13                So I think because of that motion to compel where we

     14    tried to get additional information and Your Honor's ruling on

     15    motion in limine number 7, they should be prevented from

     16    introducing that evidence.

     17                THE COURT:    All right.    Thank you, Mr. Allan.

     18                Mr. Bridges.

     19                MR. BRIDGES:    Your Honor, if I recall correctly, a

     20    lot of that motion in limine had to do with Mr. Rosenblatt's

     21    statistics, and it was also tied -- I don't have the brief -- I

     22    remember looking at the briefs a couple days ago.                 It was sort

     23    of all about the DMCA.      And the DMCA is out.

     24                And these are topics that are appropriate for cross

     25    as to whether these were effective or not, but I think Cox




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      1    should be allowed to put its understanding into evidence.                      And

      2    this is part of a presentation, industry presentation that he

      3    gave.

      4                 THE COURT:   Mr. Cadenhead has no knowledge of whether

      5    they are correct or incorrect, right?

      6                 MR. BRIDGES:   Oh, I believe he does, Your Honor,

      7    because --

      8                 THE COURT:   Well, he --

      9                 MR. BRIDGES:   -- he was overseeing the process and he

     10    compiled these -- this report.       That's my understanding.                I

     11    believe he has some knowledge and views on that, and I think

     12    that's entirely appropriate for cross-examination.

     13                 THE COURT:   All right.    I'll allow the testimony, and

     14    you can cross-examine on it.

     15                 All right, Joe, let's get our jury.

     16                 NOTE:   At this point the jury returns to the

     17    courtroom; whereupon the case continues as follows:

     18    JURY IN

     19                 THE COURT:   All right.    Please be seated.

     20                 Good morning, ladies and gentlemen.            I hope you had a

     21    good evening.     Did you all heed my advice not to do any

     22    research or investigation or talk about the case?                 All right.

     23    Thank you very much.

     24                 All right.   We were in the middle of Mr. Cadenhead's

     25    direct examination last night when we broke.               Is he with us




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